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 1
 2                                  UNITED STATES DISTRICT COURT
 3                                          DISTRICT OF NEVADA
 4                                                      ***
 5
 6
 7 UNITED STATES OF AMERICA,                       )
                                                   )        CA-10-10043
 8                                                 )
                           Plaintiff-Appellee,     )        2:08-CR-347-JCM (PAL)
 9                  vs.                            )
                                                   )
10 JUAN NUNEZ-ROMERO,                              )
                                                   )
11                         Defendant-Appellant. )            ORDER
   ____________________________________)
12
           Presently before the court is petitioner Juan Carlos Nunez-Romero’s motion to vacate pursuant to
13
   28 U.S.C. section 2255. (Doc. # 190). The government filed a response in opposition. (Doc. # 192).
14
           Petitioner argues that the court erred in calculating the applicable sentencing range in this matter
15
   by failing to include a three-point reduction pursuant to section 3E1.1 of the United States Sentencing
16
   Guidelines. However, the Ninth Circuit already rejected this argument in petitioner’s direct appeal. (Doc.
17
   # 163, pp. 3-4). Additionally, the instant motion is untimely, as it was filed several years after the judgment
18
   of conviction became final on June 29, 2011. Therefore, petitioner’s motion to vacate will be denied.
19
           The court declines to issue a certificate of appealability. The controlling statute in determining
20
   whether to issue a certificate of appealability is 28 U.S.C. section 2253, which provides as follows:
21
              (a) In a habeas corpus proceeding or a proceeding under section 2255
22            before a district judge, the final order shall be subject to review, on
              appeal, by the court of appeals for the circuit in which the proceeding
23            is held.
24             (b) There shall be no right of appeal from a final order in a
               proceeding to test the validity of a warrant to remove to another
25             district or place for commitment or trial a person charged with a
               criminal offense against the United States, or to test the validity of
26             such person's detention pending removal proceedings.
27             (c)(1) Unless a circuit justice or judge issues a certificate of
               appealability, an appeal may not be taken to the court of appeals
28             from–
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 1                     (A) the final order in a habeas corpus proceeding in which the
                       detention complained of arises out of process issued by a
 2                     [s]tate court; or
 3                     (B) the final order in a proceeding under section
                       2255.
 4
               (2) A certificate of appealability may issue under paragraph (1) only
 5             if the applicant has made a substantial showing of the denial of a
               constitutional right.
 6
               (3) The certificate of appealability under paragraph (1) shall indicate
 7             which specific issue or issues satisfy the showing required by
               paragraph (2).
 8
 9          Under this section, the court may issue a certificate of appealability only when a movant makes a
10 substantial showing of the denial of a constitutional right. 28 U.S.C. § 2253(c)(2). To make a substantial
11 showing, the movant must establish that “reasonable jurists could debate whether (or, for that matter, agree
12 that) the petition should have been resolved in a different manner or that the issues presented were
13 adequate to deserve encouragement to proceed further.” Slack v. McDaniel, 529 U.S. 473, 484 (2000)
14 (internal quotations omitted).
15          The court finds that petitioner has not made the required substantial showing of the denial of a
16 constitutional right to justify the issuance of a certificate of appealability. Reasonable jurists would not find
17 the court’s determination that petitioner is not entitled to relief under section 2255 debatable, wrong, or
18 deserving of encouragement to proceed further. Therefore, the court declines to issue a certificate of
19 appealability.
20          Accordingly,
21          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that petitioner’s motion to vacate
22 pursuant to 28 U.S.C. section 2255 (doc. # 190) be, and the same hereby is, DENIED.
23          DATED July 23, 2014.
24
                                                    _________________________________________
25                                                  UNITED STATES DISTRICT JUDGE
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